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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


In Re Johnson & Johnson Talcum     Case No. 3:16-md-2738-MAS-RLS
Powder Product Marketing Sales
Practices and Products Liability              CIVIL ACTION
Litigation
                                        Motion Return Date:
                                          July 1, 2024




       BRIEF IN SUPPORT OF MOTION TO QUASH SUBPOENA
             ISSUED TO THE SMITH LAW FIRM, PLLC




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      This brief is submitted on behalf of The Smith Law Firm. PLLC (hereafter

“Smith”) in support of its motion, filed pursuant to Fed. R. Civ. P. 45(d)(2)(B), to

quash a subpoena served upon it on May 23, 2024 by Johnson & Johnson and LLT

Management, LLC (hereafter collectively “J&J). The subpoena should be quashed

in its entirety because it (1) is procedurally improper; (2) seeks irrelevant

information, see In re Valsartan N-Nitrosodimethylamine Contamination Prods.

Liab. Litig. 405 F. Supp. 3d 612 (D.N.J. 2019); and (3) imposes and undue burden

upon Smith. If not quashed in its entirety, those portions of the subpoena which

week information which is Constitutionally protected from disclosure, requests 7

and 8, should be stricken.

      The Smith Law Firm PLLC joins in the arguments set forth in every other

motion filed by any other recipient which seeks to quash a similar subpoena.

      A.     The Parties

      Johnson & Johnson is a Defendant in In Re Johnson & Johnson Talcum

Powder Product Marketing Sales Practices and Products Liability Litigation,

Docket No.: 3:16-md-02738-MAX-RLS (hereafter “the Litigation”). This case,

pending before the multi-district panel, is venued in New Jersey, and involves

claims of personal injuries attributable to talcum powder sold by J&J.

Smith, the recipient of the subpoena, is a Mississippi based law firm that is neither

a party in the Litigation nor counsel of record to any party in the Litigation.


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(Declaration of Allen Smith, ¶ 4).

      B.    The Subpoena

      The subpoena in dispute was issued by J&J’s counsel out of the District

Court for the District of New Jersey and seeks compliance in New York City.

(Declaration of Allen Smith, Exhibit A). It orders Smith to produce the following 8

items of information:

             1.    All Documents or Communications that reflect or
      relate to any Funding and/or Third- P a r t y Funding You received
      concerning the Cosmetic Talcum Powder Litigation, and/or
      claims that have or may be asserted therein, including when the
      funding first began and on what.

             2.    All Documents or Communications that reflect or
      relate to any Funding and/or Third-Party Funding You have
      received in any way related to the Litigation and/or claims that
      have or may be asserted therein, including, without limitation, any
      Documents or Communications that relate to Funding and/or
      Third-Party Funding received from Fortress or Ellington.

            3.     All Agreements You have entered into with any
      Person to provide You with Funding or Third-Party Funding in
      any way related to the Litigation, and/or claims that have or may
      be asserted therein including, without limitation, any Agreements
      with Fortress or Ellington.

             4.    All Documents, Communications, or Agreements that
      concern how much Remuneration You have received in Funding
      or Third-Party Funding in any way related to the Litigation, and/or
      claims that have or may be asserted therein including, without
      limitation, any Documents, Communications or Agreements that
      relate to Funding received from Fortress or Ellington.

           5.     All Documents, Communications, or Agreements that
      concern the conveyance, sale, syndication, factoring or other
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      transfer of Funding or Third-Party Funding You have received that
      relates, in any way, to the Litigation and/or claims that have or
      may be asserted therein.

            6.     All Documents, Communications, or Agreements that
      concerning (sic) the authority to settle or otherwise resolve the
      Litigation and/or claims that have or may be asserted therein.

            7.     All Communications You have had with any Person
      who is not a party to this action, including news organizations like
      Thomson Reuters, or with Fortress or Ellington or other entities
      that provide Funding or Third-Party Funding, related to the
      Proposed Plan of Reorganization and the solicitation of personal
      injury Plaintiffs regarding same.

            8.    All Communications You have had with any Person
      who is not a party to this action, including news organizations like
      Thomson Reuters, or with Fortress or Ellington or other entities
      that provide Funding or Third-Party Funding, related to settlement
      offers made to You by Defendants in connection with the
      Litigation.

(Declaration of Allen Smith, Exhibit A). The subpoena essentially seeks three

categories of information: (1) information about litigation funding; (2)

settlement communications; and (3) communications with “news

organizations.”

      The subpoena is broad and ambiguous insofar as it seeks information

about claims that have been asserted as well as those that “may be asserted.” It

seeks documents from The Smith Law Firm, PLLC and any “employee”

defined to “include, without limitation,” any current and former “officer,

director, executive, manager, secretary, staff member, messenger, agent,


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independent contractor . . ..” “Funding” is defined as any “Remuneration,”

which includes, according to the subpoena, any compensation. The term

“Litigation” is defined as referring to the “Cosmetic Talcum Powder Litigation

and/or the Bankruptcy Proceedings.” The former is broadly defined as

including

      without limitation, any claims concerning Johnson & Johnson’s
      talcum powder products filed or contemplated against the
      Defendants, regardless of the underlying injury or disease alleged.

      In addition, the subpoena seeks information that is far beyond that which

is required under L. Civ. R. 7.1.1 to be disclosed by parties to litigation -

which The Smith Law Firm, PLLC is not.

      In summary, the subpoena is draconian with regard to the categories of

information sought, the time period covered, the description of the people from

whom information is requested, and the breadth of its requests.

      C.     The Cosmetic Talcum Powder Litigation

      The subpoena arises in the context of a personal injury lawsuit. That lawsuit

is most likely typical of other cases within the multi-district docket. The New

Jersey case in which the subpoena was issued was filed on behalf of a plaintiff

named Barbara Ross by her attorneys, Moll Law Group and The Law Group, Ltd.

(See Amended Complaint, Document 52 in In Re Johnson & Johnson Talcum

Powder Product Marketing Sales Practices and Products Liability Litigation,


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Docket No.: 3:16-md-02738-MAS-RLS). Neither The Smith Law Firm PLLC nor

Allen Smith has any connection to Ms. Ross or her attorneys. (Declaration of

Allen Smith, ¶ 5).

      The Complaint is largely a conventional personal injury pleading in which

Ms. Ross alleges that she suffers from ovarian cancer attributable to her use of

talcum powder sold by J&J. The Complaint contains ten counts: failure to warn

(Count I); design and/or manufacturing defect (Count II); negligence (Count III);

breach of express warranty (Count IV); breach of implied warranty (Count V);

punitive damages (Count VI); negligent misrepresentation (Count VII); fraudulent

concealment (Count VIII); fraud (Count IX); and violation of the Illinois

Consumer Fraud and Deceptive Business Practices Act (Count X).

      This brief first discusses procedural deficiencies in the subpoena, then turns

to a discussion of facial flaws in the subpoena, and finally to the impropriety of

several individual requests.

                                   ARGUMENT

                                      POINT I

             THE SUBPOENA SHOULD BE QUASHED
             BECAUSE IT IS PROCEDURALLY FLAWED

      The Subpoena has been issued out of a New Jersey Federal Court to a

Mississippi recipient and is returnable in the State of New York. It is void and

should be quashed as it does not comply with Fed. R. Civ. P. 45.

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      A subpoena may only compel production of documents “within 100 miles of

where the person resides, is employed or regularly transacts business in person.”

Fed. R. Civ. P. 45(b)(2)(A). A District Court has no power to subpoena parties to

appear or provide documents beyond the 100-mile limit. See, e.g. Jaynes v.

Jaynes, 496 F.2d 9, 10 (2nd Cir 1974) and Corp. Incentives, Inc. v. Unified Safe

Guard, LLC, C.A. No. 20-13471, 2023 U.S. Dist. LEXIS 170706, *2 (D.N.J. July

25, 2023).

      The Smith Law Firm does not reside in, is not employed within, and does

not regularly transact business in person in the State of New Jersey or in the State

of New York, nor is Smith appearing before this Court. (Declaration of Allen

Smith, ¶ 6). Therefore, the subpoena should be quashed. In re Volkswagen of

AM., Inc., 506 F.3d 376 (5th Cir. 2007).

                                  POINT II

               THE JOHNSON & JOHNSON SUBPOENA
               SEEKS INFORMATION THAT IS NOT
               DISCOVERABLE UNDER FED. R. CIV. P. 26

      A.     Background

The information sought in the J&J subpoena may, for purposes of assessing

relevance, be grouped into three categories: (1) litigation funding information; (2)

settlement information; and (3) communications with news organizations. None of



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the information sought is relevant to a “claim or defense” plead in this matter and

therefore the subpoena should be quashed.

      Fed. R. Civ. P. 26(b)(1) provides that:

      Parties may obtain discovery regarding any non-privileged matter that
      is relevant to any party’s claim or defense - including the existence,
      description, nature, custody, condition, and location of any documents
      or other tangible things and the identity and location of persons who
      know of any discoverable matter. (Emphasis added).
      While discovery is broad, it must be proportional to the needs of the case.

In re Valsatran, 405 F. Supp.3d at 612. The Federal Rules do not confer an

unlimited right of discovery to any party and a “court may, for good cause, issue

an order to protect a party or person from annoyance, embarrassment, oppression,

or undue burden or expense.” Fed. R. Civ. P. 26(c)(1). The right to such a

protective order extends to both parties and non-parties who have been served

with subpoenas. Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44, 48 (S.D.

N.Y. 1996).

      As a threshold matter, “Rule 26(b) requires that any requested discovery be

relevant to a party’s claim or defense, and a subpoena that ‘sweepingly pursues

material with little apparent or likely relevance to the subject matter [ ] runs the [ ]

risk of being found overbroad and unreasonable.’” Id. at 50. Relevance is

determined “in light of the allegations of the complaint,” Scouler v. Craig, 116

F.R.D. 494, 496 (D.N.J. 1987) and the party seeking discovery “has the burden of


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showing that the information sought is relevant to the subject matter of the action

and may lead to admissible evidence,” Caver v. City of Trenton, 192 F.R.D. 154,

159 (D.N.J. 2000). (Citations omitted). This burden is heavier when the

discovery is sought from a non-party. Cusumano v. Microsoft Corp., 162 F.3d

708 (1st Cir. 1998); Echostar Commc’ns Corp. v. News Corp., 180 F.R.D. 391,

394 (D. Colo. 1998).

       It is thus incumbent upon J&J to demonstrate why the information which it

seeks is relevant to a “claim or defense.” Given the nature of the allegations in

Ms. Ross’ Complaint, J&J cannot satisfy its heavy burden to demonstrate the

relevance to any “claim or defense” in that personal injury action, of any of the

three categories of information sought from an attorney who is neither a party to

nor an attorney of record in the case in which the subpoena has been issued or in

any case pending before the multi-district panel. (Declaration of Allen Smith,

¶ 5)

       B.    Litigation Funding Information is Irrelevant to Any “Claim or
             Defense”

       Even were Smith to have some role in this matter, discovery about litigation

funding is not remotely relevant. See In re Valarsatan, 405 F. Supp. 3d at 615

(collecting cases finding litigation funding irrelevant). In that multi-district

litigation, defendants sought discovery directed to plaintiffs’ counsel’s litigation

funding. Id. at 612. This Court properly found that this discovery was not
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“relevant to any party’s claim or defense and proportional to the needs of the case.”

There, Judge Schneider wrote:

      The Court agrees with the plethora of authority that holds that discovery
      directed to a plaintiff’s litigation funding is irrelevant.

See also Kaplan v. S.A.C. Capital Advisors, L.P., S.A.C., No. 12-CV-9350

(VM)(KNF), 2015 U.S. Dist. LEXIS 135031 *17 (S.D.N.Y. Sept. 10, 2015), aff'd,

141 F. Supp. 3d 246 (S.D.N.Y. 2015) (denying defendants' request for plaintiffs'

litigation funding documents on the ground that "defendants did not show that the

requested documents are relevant to any party's claim or defense").

      There is even less justification to require Smith to provide information about

litigation funding. L. Civ. R. 7.1.1 only requires disclosure by parties. The Smith

Law Firm, PLLC is neither a party nor an attorney of record for a party in the

multi-district litigation. (Declaration of Allen Smith, ¶ 5). There is no conceivable

basis to require an attorney who has not appeared in this litigation to provide

litigation funding information.

      C.     Settlement Communications are Irrelevant

      Requests 6 and 8 of the subpoena seek settlement communications. While

Fed. R. Evid. 408 does not make settlement discussions privileged, a litigant

seeking that information must make a particularized showing of relevance to a

claim or defense. Lesal Interiors v. Resolution Trust Corp., 153 F.R.D. 552 (D.

N.J. 1994); Morse/Diesel, Inc. v. Trinity Indus., 142 F.R.D. 80, 84 (S.D. N.Y.
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1992). In the absence of such a showing, discovery of settlement information is

prohibited. Centillion Data Sys. v. Ameritech Corp., 193 F.R.D. 550, 553 (S.D.

Ind. 1999):

      While admissibility and discoverability are not equivalent, it is clear
      that the object of the inquiry [for settlement information] must have
      some evidentiary value before an order to compel disclosure of
      otherwise inadmissible material will issue.

      Moreover, communications about settlement could involve client

communications and would be protected by the attorney client privilege. See

Times of Trenton Pub. Corp. v. Pub. Util. Serv. Corp., 2005 US Dist. LEXIS

34624 *6 (D.N.J. May 3, 2005). There is no justification to require production of

settlement information from Smith.

      D.      Communications with News Organizations Are Irrelevant

      Requests 7 and 8 of the subpoena seek information about communications

with news organizations concerning litigation funding, settlement, and client

solicitations. Once again, there is no conceivable relationship between such

communications to any “claim or defense” in this matter. The District Court for

the District of New Jersey, in related litigation involving Johnson & Johnson, has

already found communications with the press by the Smith Law Firm, PLLC and

others are irrelevant. Hall v. Johnson & Johnson, 2022 U.S. Dist. LEXIS 78111,

*13 (D.N.J., Apr. 29, 2022).



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      In summary, the subpoena, in all respects, seeks irrelevant information and

should be quashed.

                                 POINT III

          A SUBPOENA FOR “ALL COMMUNICATIONS”
          WITH “ANY PERSON” IMPOSES AN UNDUE
          BURDEN ON THE SMITH LAW FIRM PLLC

      Fed. R. Civ. P. 45(d) provides that

      A party or attorney responsible for issuing and serving a subpoena
      must take reasonable steps to avoid imposing undue burden or
      expense on a person subject to the subpoena.

      The subpoena issued in this matter requires Smith to provide information

   • Transmitted to an unlimited number of “Persons”;

   • potentially supplied, as the subpoena provides, by The Smith Law Firm and
     any “Person or entity acting on their behalf, including directors, officers,
     employees, attorneys and agents”;

   • which includes, according to the subpoena’s definition of “communication,”
     “every manner and means of correspondence, disclosure, transfer . . .or
     information” whether face-to-face, by telephone, mail, email, text
     messaging, or other means; and

   • With regard to pending or future matters.

      In assessing whether a subpoena imposes an undue burden, a Court is to

consider the status of the recipient as a non-party:

      It is also noteworthy that the respondents are strangers to the
      antitrust litigation; insofar as the record reflects, they have no dog
      in that fight. Although discovery is by definition invasive, parties
      to a law suit must accept its travails as a natural concomitant of
      modern civil litigation. Non-parties have a different set of
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      expectations. Accordingly, concern for the unwanted burden thrust
      upon non-parties is a factor entitled to special weight in evaluating
      the balance of competing needs.

Cusumano v. Microsoft Corp., 162 F.3d at 717 (citations omitted). See also

Weinman v. Cable, 427 F.3d 49, 53 (1st Cir. 2005):

      Even with appellants’ reduced request, the evaluation of benefit to
      appellants versus burden on appellee is a demanding and sensitive
      one. On the one hand, appellee is a nonparty to the underlying
      litigation. This fact is entitled to special weight in evaluating the
      balance of competing needs.

Id. at 53. Thus, a subpoena that imposes an undue burden on a non-party should be

quashed even if it seeks “relevant materials or testimony.” Id.; see also,

Heidelberg Ames., Inc. v. Tokyo Kikai Seisakusho, Lt., 333 F.3d 38 (1st Cir. 2003).

      An assessment of burden turns on an examination of the (1) relevance of the

information; (2) a party’s need for the documents; (3) the breadth of the request;

(4) the time period covered; (5) the burden imposed; and (6) the status of the

witness as a non-party. Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. at 49.

      As discussed in Point II above, factors 1, 2 and 6 weigh against enforcement

of the subpoena. Factors 3 and 4 require consideration of the breadth of the

request, which is extensive, requiring inquiries to many persons over several years

about a variety of different communication formats. Factor 5, the burden imposed,

weighs in favor of quashing the subpoena as it would require Smith to review

written data, to speak to many past and current employees going back several


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years, to search electronically stored information, and to review paper files is a

burden which should not be imposed on a non-party. Therefore, all factors weigh

in favor of quashing the subpoena.

      Even if the subpoena were to have sought relevant information it imposes an

undue burden upon Smith, a non-party to this litigation, and should be quashed.

                                     POINT IV

             INFORMATION ABOUT COMMUNICATIONS
             WITH NEWS ORGANIZATIONS IS NOT
             DISCOVERABLE

      A.     Requests Nos. 7 and 8

      Request Nos. 7 and 8 seek:

            7.     All Communications You have had with any Person
      who is not a party to this action, including news organizations like
      Thomson Reuters, or with Fortress or Ellington or other entities
      that provide Funding or Third-Party Funding, related to the
      Proposed Plan of Reorganization and the solicitation of personal
      injury Plaintiffs regarding same.

            8.    All Communications You have had with any Person
      who is not a party to this action, including news organizations like
      Thomson Reuters, or with Fortress or Ellington or other entities
      that provide Funding or Third-Party Funding, related to settlement
      offers made to You by Defendants in connection with the
      Litigation.

      B.     The Right to Anonymously Provide Information is Protected by
             the First Amendment of the Constitution

      A subpoena which seeks communications with any news organization runs

afoul of the First Amendment of the Constitution of the United States. The First
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Amendment provides as follows:

      Congress shall make no law . . . abridging the freedom of speech,
      or of the press; or the right of the people peaceably to assemble,
      and to petition the Government for a redress of grievances.

The issuance of a subpoena is state action which implicates First Amendment

protections. Doe v. 2TheMart.com Inc., 140 F. Supp. 2d 1088, 1094 (W.D. Wash.

2001); Los Angeles Memorial Coliseum Com. v. National Football League, 89

F.R.D. 489 (C.D. Cal. 1981).

      Compliance with the subpoena issued by J&J here would reveal (1) whether

Smith communicated with a news organization; (2) the names of individuals who

may have had those communications; and (3) the identification of the particular

information provided. The First Amendment protects against compelled

disclosures of this nature and thus, the subpoena should be quashed.

      Among the rights protected by the First Amendment of the Constitution of

the United States is the right to anonymously provide information to the public.

Talley v. California, 362 U.S. 60 (1960). In Talley, the City of Los Angeles had

adopted an ordinance which prohibited the distribution of handbills if they failed to

disclose the name of the person who printed, wrote, compiled or manufactured the

handbill. The defendant there had distributed anonymous handbills that advocated

boycotting certain local merchants and, as a result, he was fined $10. Following an

unsuccessful appeal of his fine, Talley sought certiorari to the Supreme Court of


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the United States which reversed the conviction reasoning that:

      There can be no doubt that such an identification requirement would
      tend to restrict freedom to distribute information and thereby freedom
      of expression.

Id. at 64. Continuing, the Court wrote:

      Anonymous pamphlets, leaflets, brochures and even books have
      played an important role in the progress of mankind. Persecuted
      groups and sects from time to time throughout history have been
      able to criticize oppressive practices and laws either anonymously
      or not at all. The obnoxious press licensing law of England, which
      was also enforced on the Colonies was due in part to the
      knowledge that exposure of the names of printers, writers and
      distributors would lessen the circulation of literature critical of the
      government.

Id.

      Where the information subpoenaed seeks communication with a news

organization (as opposed to pamphleting), there is even a greater need for

expansive protection. This is so because the disclosure of a source’s identity could

impair the news gathering process and chill First Amendment rights. Gonzales v.

NBC, 194 F.3d 29, 35 (2d Cir. 1998):

      The resulting wholesale exposure of press files to litigant scrutiny
      would burden the press with heavy costs of subpoena compliance,
      and could otherwise impair its ability to perform its duties—
      particularly if potential sources were deterred from speaking
      to the press, or insisted on remaining anonymous, because of
      the likelihood that they would be sucked into litigation.
      (Emphasis added).

See also Riley v. Chester, 612 F.2d 708, 714 (3d Cir. 1979):


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      The interrelationship between newsgathering, news dissemination
      and the need for a journalist to protect his or her source is too
      apparent to require belaboring. A journalist’s inability to protect
      the confidentiality of sources s/he must use will jeopardize the
      journalist’s ability to obtain information on a confidential basis.
      This in turn will seriously erode the essential role played by the
      press in the dissemination of information and matters of interest
      and concern to the public. The role of “an untrammeled press as a
      vital source of public information” was one of the primary bases
      for its First Amendment protection. (internal citations omitted).

      Several decades after its decision in Talley, the Supreme Court returned to

the First Amendment implications of the right to anonymity. In doing so, it

expanded the analytical basis for First Amendment protection. While the Court in

Talley and several Circuit Courts had premised the protection of anonymity on

public policy grounds, the Supreme Court in McIntyre v. Ohio Elections Comm’n,

514 U.S. 334, 342 (1995), based its decision on the preservation of the speaker’s

personal autonomy:

      Accordingly, an author’s decision to remain anonymous, like other
      decisions concerning omissions or additions to the content of a
      publication, is an aspect of the freedom of speech protected by the
      First Amendment.

      Given the importance of the First Amendment protections, Courts have

readily quashed subpoenas issued in order to obtain evidence in cases arising, not

only in the political context as in Talley, but in the business context as well. See

e.g. Highfields Capital Mgmt. L.P. v. Doe, 385 F. Supp. 2d 969 (N.D. Cal. 2004).

There, plaintiff alleged that an anonymous internet posting infringed on the


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trademark of the publicly traded corporation. Highfields had issued a subpoena to

Yahoo seeking to learn the name of the anonymous poster so that the source could

be sued. The internet poster, under the pseudonym of Doe, filed a motion to quash

the subpoena which the Court granted:

      While plaintiff seems to suggest otherwise, the interests and
      policies invoked by the defendant are of considerable potential
      significance. Indeed, they are rooted in the First Amendment to
      the Constitution of the United States. What defendant seeks to
      protect through his motion to quash is the right to express most
      effectively and anonymously, without fear of expensive adverse
      consequences, his views about matters in which many other
      members of the public are interested. In this case, those matters
      involve the performance and policies of a large, publicly traded
      corporation (SGI) and, perhaps less obviously, its largest single
      shareholder (Highfields Capital).

Id. at 974-75.

      In another business case, a court quashed a subpoena for information sought

to defend against a plaintiff’s complaint. Doe v. 2TheMart.com Inc., 140 F. Supp.

2d 1088. That case was a derivative shareholder action alleging fraud on the

market. The defendant, who claimed that its conduct was not the cause of the

plaintiff’s injury, subpoenaed a public message board to obtain the names of 23

individuals who had disparaged the plaintiff-corporation. One poster, under the

pseudonym of NoGuano, filed a motion to quash the subpoena. Granting the

motion, the Court reasoned that “the right to speak anonymously was of

fundamental importance to the establishment of our Constitution.” Id. at 1092.


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The unmasking of anonymous speakers, the opinion continues, has a chilling effect

on speech. When an anonymous internet poster is not a party to the case, “non-

party disclosure is only appropriate in the exceptional case where the compelling

need for the discovery sought outweighs the First Amendment rights of the

anonymous speaker.” Id. at 1095.

      The Third Circuit Court of Appeals has embraced a similarly rigorous test

which requires consideration of several factors. Riley, 612 F.2d at 716. Among

the factors to be considered are the following: was the subpoenaed party a witness

to the events that are the subject of the information sought? Is the recipient a party

to the litigation in which the subpoena was issued? Does the recipient have a

personal stake in the outcome of the litigation? All of these factors weigh against

enforcement of the subpoena issued to Smith.

      Even were the subpoena not procedurally flawed, even had it sought relevant

information, even were it not burdensome, requests 7 and 8 should be stricken.




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                               CONCLUSION

      For the foregoing reasons, the subpoena to the Smith Law Firm, PLLC,

should be quashed.

                                    Respectfully submitted,
                                    SZAFERMAN, LAKIND,
                                     BLUMSTEIN & BLADER, P.C.

                                     s/Arnold C. Lakind
                                      Arnold C. Lakind, Esq.

Dated: June 3, 2024




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